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                        UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA

  1) MICHAEL T. TORRONE, JR.,                      )
                                                   )
                Plaintiff,                         )
                                                   )
  v.                                               )   Case No. 17-cv-534-CVE-FHM
                                                   )
  2) SAFECO INSURANCE COMPANY                      )
  OF AMERICA,                                      )
                                                   )
                Defendant.                         )

                                   NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant Safeco Insurance

  Company of America (“Safeco”) hereby removes the above-captioned action from the

  District Court of Mayes County, State of Oklahoma, to the United States District Court

  for the Northern District of Oklahoma. In support of this removal, Safeco states as

  follows:

         1.     On August 25, 2017, Plaintiff Michael T. Torrone, Jr. ("Plaintiff")

  commenced an action in the District Court of Mayes County, Oklahoma, entitled

  Michael T. Torrone, Jr., Plaintiff, v. Safeco Insurance Company of America, a Washington

  Corporation, Defendant, Case No. CJ-2017-153, which was served on Safeco on September

  5, 2017 (the "State Court Action"). A true copy of the state court docket sheet is attached

  as Exhibit 1. All process, pleadings, and orders filed or served in the State Court Action

  are attached hereto as Exhibits 2 - 3.
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         2.     According to the Petition, Plaintiff is a resident of Mayes County,

  Oklahoma. Defendant Safeco is a company organized under the laws of the State of

  New Hampshire with its principal place of business in Boston, Massachusetts.

         3.     In accordance with 28 U.S.C. § 1446(b)(1), this action has been removed

  within thirty (30) days of the service of Plaintiff's Petition on Safeco on or about

  September 5, 2017.

         4.     The Northern District of Oklahoma includes the state judicial district in

  which Plaintiff filed his Petition.

         5.     This is a civil action over which this Court has original jurisdiction based

  on diversity of citizenship and amount in controversy pursuant to 28 U.S.C § 1332, and

  which may be removed to this Court pursuant to 28 U.S.C. §§ 1441 and 1446.

         6.     Safeco submits that the amount in controversy exceeds the statutory

  amount in controversy of $75,000. In determining whether the amount in controversy

  exceeds $ 75,000.00, the aggregate of Plaintiff’s request for actual damages, punitive

  damages, and statutorily imposed attorney's fees and penalties should be considered.

  See Woodmen of World Life Ins. Soc'y v. Manganaro, 342 F.3d 1213, 1217-18 (10th Cir. 2003);

  Singleton v. Progressive Direct Ins. Co., 49 F. Supp. 3d 988, 993 (N.D. Okla. Sept. 9, 2014).

  Only costs and interest are excluded from this calculation. See 28 U.S.C. § 1332(a). The

  Supreme Court has long held that “when a statute permits recovery of attorney's fees a

  reasonable estimate may be used in calculating the necessary jurisdictional amount in a


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  removal proceeding based upon diversity of citizenship.” Miera v. Dairyland Ins. Co.,

  143 F.3d 1337, 1340 (10th Cir. 1998) (citing Missouri State Life Ins. Co. v. Jones, 290 U.S.

  199, 202 (1933)). This Court has permitted removal where the plaintiff's stated actual

  damages were only $10,000 or more but the plaintiff also sought punitive damages,

  noting "a punitive damages award of $65,000 or more would reach the jurisdictional

  threshold" and "would require no more than a single-digit ratio of punitive damages to

  actual damages." See Singleton, 49 F. Supp. 3d. at 993-94.

         7.     In a dispute concerning an insurance contract in Oklahoma, attorney fees

  shall be allowable to the prevailing party. See OKLA. STAT. tit. 36, § 3629; see also Badillo

  v. Mid Century Ins. Co., 2005 OK 48, ¶ 68, 121 P.3d 1080, 1107. Oklahoma also permits

  the recovery of punitive damages in actions for bad faith, misrepresentation, and fraud.

  See OKLA. STAT. tit. 23, § 23-9.1; see Thompson v. Shelter Mut. Ins., 875 F.2d 1460, 1464

  (10th Cir. 1989). At a minimum, such punitive damages for bad faith could equal

  $100,000.00 or an amount equal to the actual bad faith damages. Singleton, 49 F. Supp.

  3d at 993. Further, the measure of damages for bad faith Oklahoma includes actual and

  compensatory damages for embarrassment, loss of reputation, and mental pain and

  suffering. See Oklahoma Uniform Jury Instruction No. 22.4.1




  1Safeco disputes that Plaintiff is entitled to attorney fees, punitive damages, or to any
  relief whatsoever, but merely submits that for purposes of calculating the amount in
  controversy, Plaintiff's allegations meet the jurisdictional threshold.
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         8.     On the face of his Petition, Plaintiff seeks damages in excess of the

  statutory amount in controversy for diversity jurisdiction. See Exhibit 2, Petition, at ¶¶

  44, 47, 51 and Plaintiff’s Request for Relief. First, Plaintiff seeks actual damages in the

  amount of $18,339.96 ($11,498.20 + $6,841.76). See id. at ¶¶ 36 and Plaintiff’s Request for

  Relief. Second, Plaintiff seeks compensatory damages for alleged bad faith, fraud,

  misrepresentation, and tortious interference with contract claims, including mental

  anguish. See id. at ¶¶ 44, 47, and 51. Plaintiff also seeks punitive damages for each of

  his tort claims. See id.   Further, Plaintiff seeks attorney fees for his breach of contract

  and bad faith claims. See id. at ¶¶ 36 and 44. Plaintiff alleges that he seeks punitive

  damages in excess of $10,000.00 for each of his four tort claims; however, it is clear by a

  preponderance of the evidence, including Plaintiff’s factual allegations in support of his

  intentional fraud, bad faith, and tortious interference claims along with his claims for

  attorney fees and punitive damages, that Plaintiff seeks damages in this action in excess

  of $75,000.00. See 28 U.S.C.S. § 1446(c)(2)(B).

         9.     Contemporaneous with Safeco’s filing of this Notice, Safeco will serve

  written notice to Plaintiff's counsel of this filing, as required by 28 U.S.C. § 1446(d).

         10.    Safeco shall also file a true and correct copy of its Notice of Removal with

  the Clerk of the District Court in and for Mayes County, State of Oklahoma, as required

  by 28 U.S.C. §1446(d).




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                               Respectfully submitted,


                               s/William W. O’Connor
                               William W. O’Connor, OBA No. 13200
                               Margo E. Shipley, OBA No. 32118
                               NEWTON O’CONNOR TURNER & KETCHUM, PC
                               15 West Sixth Street, Suite 2700
                               Tulsa, Oklahoma 74119-5423
                               (918) 587-0101 Telephone
                               (918) 587-0102 Facsimile
                               boconnor@newtonoconnor.com
                               mshipley@newtonoconnor.com

                               ATTORNEYS FOR DEFENDANT, SAFECO
                               INSURANCE COMPANY OF AMERICA




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                               CERTIFICATE OF SERVICE

        I hereby certify that on the 21st day of September, 2017, I electronically filed the
  foregoing document with the Clerk of the Court using the CM/ECF system, which will
  send notification of such filing to the following:

  Ryan H. Olsen

  ATTORNEY FOR PLAINTIFF



                                                  s/William W. O’Connor
                                                  William W. O’Connor




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